                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                         3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,

                                  Plaintiff,

                    v.
                                                    BRIEF IN SUPPORT OF
VIVINT SMART HOME, INC.,                            DEFENDANTS’ MOTION
f/k/a MOSAIC ACQUISITION CORP.;                    FOR BIFURCATED TRIAL
LEGACY VIVINT SMART HOME, INC.
f/k/a VIVINT SMART HOME, INC.,

                              Defendants.



      Defendants Vivint Smart Home, Inc. and Legacy Vivint Smart Home, Inc.

(together, “Vivint”) respectfully submit this brief in support of their motion to

bifurcate the compensatory and punitive damages phases of trial.


                                 INTRODUCTION

      CPI is seeking a punitive damages award of at least $30 million against Vivint

on its two remaining claims under North Carolina law. 1 Under North Carolina law,

a defendant has a statutory guarantee of a bifurcated trial on compensatory damages


1      CPI seeks punitive damages for its claims for unfair competition and tortious
interference. CPI is not entitled to punitive damages on its Lanham Act claim. See 15
U.S.C. § 1117(a) (providing that any award “shall constitute compensation and not a
penalty”); see also J. Thomas McCarthy, McCarthy on Trademarks and Unfair
Competition § 30:95 (4th ed. 2007) (collecting cases). Likewise, CPI is not entitled to
punitive damages on its section 75-1.1 claim. See Pinehurst, Inc. v. O’Leary Bros.
Realty, Inc., 338 S.E.2d 918, 925 (N.C. Ct. App. 1986); Monk v. Progressive
Southeastern Ins. Co., No. 7:06-CV-15-D, 2006 WL 8439059, at *2 (E.D.N.C. May 23,
2006).


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and punitive damages. But because that statutory guarantee confers a “procedural”

right and not a “substantive” right, federal courts are not bound to follow it. Instead,

federal courts conduct a bifurcation analysis under Rule 42(b) of the Federal Rules of

Civil Procedure.

      In conducting this Rule 42(b) analysis, however, federal courts have given

great weight to state statutory guarantees of a bifurcated trial in punitives cases.

This motion asks the Court to join these courts in bifurcating the trial of this matter

consistent with state law. As described below, the rationale for bifurcation under

North Carolina’s statutory guarantee calls for the same result under a Rule 42(b)

analysis, particularly under the circumstances of this particular case.


                                    ARGUMENT

I.    Bifurcating the compensatory and punitive phases of trial is
      warranted.

      A.     Under a Rule 42(b) analysis, North Carolina’s statutory
             guarantee of a bifurcated trial can—and should—be given great
             weight.

      Under North Carolina law, defendants facing the prospect of punitive damages

have a statutory guarantee to a trial in which the compensatory and punitive

damages phases are bifurcated. See N.C. Gen. Stat. § 1D-30. The statute provides:

      Upon the motion of a defendant, the issues of liability for compensatory
      damages and the amount of compensatory damages, if any, shall be tried
      separately from the issues of liability for punitive damages and the
      amount of punitive damages, if any. Evidence relating solely to punitive
      damages shall not be admissible until the trier of fact has determined
      that the defendant is liable for compensatory damages and has
      determined the amount of compensatory damages. The same trier of fact
      that tried the issues relating to compensatory damages shall try the
      issues relating to punitive damages.


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N.C. Gen. Stat. § 1D-30; see also N.C. Gen. Stat. § 1D-25(a) (“In all actions seeking

an award of punitive damages, the trier of fact shall determine the amount of punitive

damages separately from the amount of compensation for all other damages.”).

      That statutory guarantee is not binding on the Court because the Fourth

Circuit has concluded that it is “procedural,” not “substantive.” See McKiver v.

Murphy-Brown, LLC, 980 F.3d 937, 974 (4th Cir. 2020). Thus, the issue of whether

to bifurcate compensatory and punitive damages phases is determined under Federal

Rule 42(b) as a matter within the Court’s broad discretion. Id.; see also, e.g.,

Greenwood Motor Lines, Inc. v. Saga Freight Logistics, LLC, No. 3:13-cv-529, 2015

WL 13610653, at *1 (W.D.N.C. Oct. 9, 2015).

      In exercising this broad discretion under Rule 42(b), however, North Carolina’s

federal courts have deferred to North Carolina’s statutory guarantee of bifurcation in

punitives cases and concluded that bifurcation is warranted. See, e.g., Silicon

Knights, Inc. v. Epic Games, Inc., No. 5:07-CV-275, 2011 WL 13234787, at *1–2

(E.D.N.C. Oct. 31, 2011) (relying almost exclusively on North Carolina’s punitives

statute in granting motion to bifurcate under Rule 42(b)); see also, e.g., Gillis v.

Murphy-Brown, LLC, 7:14-CV-185-BR, ECF No. 249 (E.D.N.C. Nov. 26, 2018) (same).

Federal courts in other states with similar state-law guarantees have done the same.

See, e.g., Cline v. 7-Eleven, Inc., No. 3:11-CV-102, 2012 WL 5471761, at *5 (N.D. W.

Va. Nov. 9, 2012) (following state bifurcation statute because it found the “logic

behind [the West Virginia statute] to be sound”); Northend Inv’rs, LLC v. S. Tr. Ins.




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Co., 256 F. Supp. 3d 781, 788–89 (W.D. Tenn. 2017) (exercising discretion under Rule

42 to bifurcate “in a manner consistent with state law”).

       For the reasons that follow, the Court should join these courts in bifurcating

the trial consistent with state law. As described below, the rationale for bifurcation

under North Carolina’s mandatory statute calls for the same result under a Rule

42(b) analysis, particularly given the circumstances of this particular case.


       B.     Consistent with North Carolina’s statutory guarantee,
              bifurcating the trial in this case is warranted under Rule 42(b).

              1.     Bifurcation is needed to avoid prejudice to Vivint.

       Rule 42(b) specifically authorizes bifurcation “to avoid prejudice.” Fed. R. Civ.

P. 42(b). Here, that prejudice would be manifest in the absence of bifurcation, because

as a matter of state law under N.C. Gen. Stat. § 1D-35, “a plaintiff is permitted to

offer certain evidence [relating to punitive damages] that might otherwise be

inadmissible.” Silicon Knights, 2011 WL 13234787, at *2 (recognizing this concern as

justification for bifurcating compensatory and punitive damages phases); see also,

e.g., Gillis, at *4 (same).

       The factors that a jury is to consider for punitive damages purposes are set

forth in N.C. Gen. Stat. § 1D-35(a) through (i). Under those statutory provisions,

jurors are asked to consider evidence that would not only be inadmissible, but would

also be extraordinarily prejudicial if considered by the jury for compensatory damages

purposes. As one nonexclusive example, jurors are asked to consider “[t]he

defendant’s ability to pay punitive damages, as evidenced by its revenues or net

worth.” N.C. Gen. Stat. § 1D-35(i).


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       Thus, as the Eastern District has recognized, in the absence of bifurcation, the

statute would allow “evidence of [the defendant’s] revenues or net worth [to] unfairly

prejudice the jury’s determination of its liability for compensatory damages and the

amount of compensatory damages.” Silicon Knights, 2011 WL 13234787, at *2 (citing

this concern as a basis for bifurcation). “Introduction of this type of evidence creates

a significant risk of unfair prejudice to defendant and has the potential to confuse the

issues and mislead the jury.” Gillis, at *4; see also Mattison v. Dallas Carrier Corp.,

947 F.2d 95, 110 (4th Cir. 1991) (explaining that bifurcation under Rule 42(b) is

available “when it is determined that the evidence relevant to the appropriate

amount of punitive damages will be prejudicial to the jury’s consideration of liability

or compensatory damages”).

       Here, CPI is seeking to introduce evidence of precisely that type. Its pretrial

submissions confirm that it seeks to introduce evidence of Vivint’s revenues and

profits. See Doc. 81-1 at 9 (listing as exhibits, over Vivint’s objection, Vivint’s SEC

filings).

       This inflammatory evidence—including but not limited to the financial

evidence—would be extraordinarily “prejudicial to the jury’s consideration of liability

or compensatory damages[.]” Mattison, 947 F.2d at 110. For this reason first and

foremost, bifurcation is warranted.




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             2.     Bifurcation would promote judicial economy.

      Rule 42(b) also embraces bifurcation “[f]or convenience . . . or to economize.”

Fed. R. Civ. P. 42(b). Thus, a bifurcation analysis requires weighing whether

bifurcation would “(1) promote greater convenience to the parties, witnesses, jurors,

and the court, [and] (2) be conducive to expedition and economy[.]” McKiver, 980 F.3d

at 975. The Fourth Circuit has further cautioned that although “conserv[ing] judicial

resources and sav[ing] all parties and witnesses time and expense” are “laudable

goals . . . a trial must remain fair to both parties, and such considerations of

convenience may not prevail where the inevitable consequence to another party is

harmful and serious prejudice.” Dixon v. CSX Transp., Inc., 990 F.2d 1440, 1445 (4th

Cir. 1993) (internal citations omitted).

      Often these two objectives—avoiding prejudice versus promoting judicial

economy—are in tension with one another. Here, however, the Court need not choose

between these objectives, because bifurcation would accomplish both.

      As a matter of substantive North Carolina law, punitive damages are not

available “unless the jury finds defendant liable for compensatory damages and the

presence of an aggravating factor is shown by clear and convincing evidence.” Gillis,

at *4–5 (citing Vandevender v. Blue Ridge of Raleigh, LLC, 901 F.3d 231, 237 (4th

Cir. 2018)); see also N.C. Gen. Stat. § 1D-15(a) (“Punitive damages may be awarded

only if the claimant proves that the defendant is liable for compensatory damages

and that one of the following aggravating factors was present and was related to the

injury for which compensatory damages were awarded: (1) Fraud; (2) Malice; (3)




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Willful or wanton conduct.”); N.C. Gen. Stat. § 1D-15(b) (“The claimant must prove

the existence of an aggravating factor by clear and convincing evidence.”).

      As a result, bifurcating the compensatory damages and punitive damages

phases furthers judicial economy, because a defense verdict on compensatory

damages would render a punitives phase “unnecessary.” Gillis, at *5; see also, e.g.,

Silicon Knights, 2011 WL 13234787, at *1–2 (same). Likewise, a compensatory

damages verdict for CPI where the jury does not find an aggravating factor by clear

and convincing evidence would render a punitives phase unnecessary.

      For these reasons, bifurcating is “conducive to judicial economy and efficiency”

because: (1) “[t]he jury [does] not need to consider [certain evidence] if no actual

damages are awarded, which would save trial time and the expense of putting on the

additional evidence[;]” and (2) “[i]f a second phase becomes necessary, no duplication

of evidence would be required because the same jury would hear both phases of trial.”

Scheufler v. Gen. Host Corp., 895 F. Supp. 1411, 1414 (D. Kan. 1995).

      These efficiency concerns apply with particular force given the unique

circumstances of this case. CPI’s only pathway to compensatory damages is through

a damages model that asks the jury to improperly extrapolate both liability and

damages from hearsay, if not double or triple hearsay. See Vivint’s Br. Supp. Mot.

Exclude Inadmissible Hearsay Related to Damages (Doc. 93). Thus, there is a high

likelihood that at the close of CPI’s evidence on compensatory damages, there will be

nothing from which a reasonable jury could, should, or would give CPI in

compensatory damages. If this scenario comes to pass, the jury will have no need to




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hear and consider evidence relating to punitive damages, which “would save trial

time and the expense of putting on the additional evidence”—the same inflammatory

evidence that justifies bifurcation on prejudice grounds alone. Scheufler, 895 F. Supp.

at 1414. These savings are not insignificant, particularly given that CPI has

forecasted that its case alone will last 5 to 7 days. Doc. 81 at 21.

      As these points show, bifurcating the trial would promote judicial economy.


             3.     Bifurcation would not prejudice CPI in any way.

      A bifurcation analysis also asks the Court to determine whether bifurcation

would “result in undue prejudice to any party.” McKiver, 980 F.3d at 975.

      Here, CPI would not suffer any prejudice from a bifurcated trial. CPI would

enjoy the same benefits of judicial economy and resource conservation described

above, including the significant cost and time savings if the jury does not return a

verdict that would allow for punitives. Indeed, in other cases, including before this

Court, plaintiffs have apparently recognized these and other benefits of a bifurcated

trial and consented to bifurcation or joined in the request. See Legacy Data Access,

Inc. v. Cadrillion, LLC, No. 3:15-cv-163, 2017 WL 253978, at *1 (W.D.N.C. Jan. 19,

2017) (Whitney, J.) (“Upon request by and consent of the parties, the Court bifurcated

the compensatory and punitive damages phases of trial.”).

      One reason for this may be that if the compensatory and punitive phases are

not bifurcated, it can invite increased appellate scrutiny of a jury’s punitive damages

decision, resulting in the plaintiff having to try its case a second time. See, e.g.,

McKiver, 980 F.3d at 975–76. The Fourth Circuit’s decision in McKiver offers a prime



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example. See id. The Court vacated and remanded for a new trial on punitive

damages that would have been unnecessary had the district court granted the

defendants’ motion to bifurcate the compensatory and punitive damages phases. See

id. These risks are heightened, of course, when a plaintiff seeks a multimillion-dollar

punitives award as the plaintiffs did in McKiver. See id.

      Here, CPI seeks more than $30 million in punitive damages—many multiples

of what the plaintiffs in McKiver received. See Doc. 29 at 15–17 (alleging more than

$10 million in compensatory damages); see also N.C. Gen. Stat. § 1D-25 (limiting

punitive damages to “three times the amount of compensatory damages”). The sheer

size of that punitive damages request, by itself, justifies an approach that is designed

to protect against the potential for prejudice.

      That is especially true given that there is no downside to bifurcation. It only

protects a defendant’s right to a fair trial and accomplishes the objectives of Rule

42(b); it does not infringe on any right of the plaintiff whatsoever. That is why, when

the stakes are as high as they are here, bifurcation is the only option that is

unassailable by any party.

      In sum, there is no prejudice to CPI in bifurcating the compensatory and

punitive damages phases of trial. The only prejudice here would be to Vivint, as

described above, if the trial is not bifurcated.


                                    CONCLUSION

      Vivint respectfully requests that the Court bifurcate the compensatory and

punitive damages phases of trial.



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      Respectfully submitted the 15th day of December, 2021.


      GREENBERG TRAURIG, LLP                    CLYDE SNOW & SESSIONS, P.C.


By:   s/ Michael N. Kreitzer              By:   s/ Matthew A. Steward
      Michael N. Kreitzer                       Matthew A. Steward
      Florida Bar No. 705561                    Utah Bar No. 7637
      kreitzerm@gtlaw.com                       mas@clydesnow.com
      333 S.E. 2nd Avenue, Suite 4400           Shannon K. Zollinger
      Miami, FL 33131                           Utah Bar No. 12724
      Telephone: (305) 579-0500                 skz@clydesnow.com
                                                One Utah Center, 13th Floor
By:   s/ Gregory W. Herbert                     201 South Main Street
      Gregory W. Herbert                        Salt Lake City, UT 84111-2216
      Florida Bar No. 111510                    Telephone: (801) 322-2516
      herbertg@gtlaw.com
      Joshua R. Brown                           Counsel for Defendants
      Florida Bar No. 826391
      brownjr@gtlaw.com
      450 S. Orange Avenue, Suite 650
      Orlando, FL 32801                         POYNER SPRUILL LLP
      Telephone: (407) 420-1000

      Counsel for Defendants              By:   s/ Andrew H. Erteschik
                                                Andrew H. Erteschik
                                                N.C. State Bar No. 35269
                                                aerteschik@poynerspruill.com
                                                John M. Durnovich
                                                N.C. State Bar No. 47715
                                                jdurnovich@poynerspruill.com
                                                N. Cosmo Zinkow
                                                N.C. State Bar No. 53778
                                                nzinkow@poynerspruill.com
                                                P.O. Box 1801
                                                Raleigh, NC 27602-1801
                                                Telephone: (919) 783-2895

                                                Local Counsel for Defendants

                       CERTIFICATE OF COMPLIANCE

      I certify that the foregoing document complies with the length requirements

set forth in paragraph 3(c)(i) of the Case Management Order (Doc. 35).


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  This the 15th day of December, 2021.

                                 s/ Andrew H. Erteschik
                                 Andrew H. Erteschik




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                          CERTIFICATE OF SERVICE

      I certify that I have electronically filed the foregoing document with the Clerk

of Court using the CM/ECF system, which will send notification of filing to all counsel

and parties of record.

      This the 15th day of December, 2021.

                                              s/ Andrew H. Erteschik
                                              Andrew H. Erteschik




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